934 F.2d 319Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Edward PRICE, Plaintiff-Appellant,v.Samuel F. SAXTON, Director County Correctional Center, AlCohen, Grievance Chairman, T.D. Simmons, ClassificationBoard, Tina M. Williams, # 360 Correctional Officer, Ms.Smither, Law Library Staff, John Doe I, CorrectionalOfficer, John Doe II, Mail Clerk, Defendants-Appellees.
    No. 91-7049.
    United States Court of Appeals, Fourth Circuit.
    May 29, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-90-1570-B)
      James Edward Price, appellant pro se.
      Crystal R. Dixon, Upper Marlboro, Md., for appellees.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      James Edward Price noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."    Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore grant appellee's motion to dismiss and deny appellant's motion for the appointment of counsel and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    